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                                       United States Bankruptcy Court
                                               District of Puerto Rico
 In re   HARRY LUIS SANTANA LAMBOY                                              Case No.   14-09530-MCF
                                                         Debtor(s)              Chapter    13



                     MOTION TO AMEND CHAPTER 13 PLAN DATED 6/26/2015


TO THE HONORABLE COURT:

         Comes now the debtor represented by the undersigned attorney and respectfully STATES and
PRAYS as follows:

         1. The Plan dated June 26, 2015 is being amended to increase plan base.

         WHEREFORE, Debtor respectfully request that this Honorable Court take acknowledge of the
above stated.

         In San Germán, Puerto Rico on June 26, 2015.


                                                      /s/ Elbia I. Vázquez Dávila
                                                      ELBIA I. VAZQUEZ DAVILA, Esq.


                     CERTIFICATE OF ELECTRONIC FILING AND SERVICE

         I hereby certify that on this same date, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to the participants of the
system and by regular mail to all interested parties as per attached list, and to Debtor to his mailing
address in record.

         In San Germán, Puerto Rico on June 26, 2015.


                                                      /s/ Elbia I. Vázquez Dávila
                                                      ELBIA I. VAZQUEZ DAVILA, Esq.
                                                      USDC #208810
                                                      Calle Principal Núm. 21, Urb. El Retiro
                                                      San Germán, Puerto Rico 00667
                                                      TEL. 892-0300 FAX: 888-630-4498
                                                      Email:evazquezdavila@yahoo.com
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 CREDITORS MAILING LIST

 HARRY LUIS SANTANA LAMBOY
 CALLE L 135 BASE RAMEY
 AGUADILLA PR 00603

 ELBIA I. VAZQUEZ DAVILA
 LCDA. ELBIA I. VAZQUEZ DAVILA
 CALLE PRINCIPAL NUM. 21
 URB. EL RETIRO
 SAN GERMAN, PR 00683

 INTERNAL REVENUE SERVICE
 P.O. BOX 21126
 PHILADELPHIA PA 19114-0326

 OCWEN LOAN SERVICES
 PO BOX 24738
 WEST PALM BEACH FL 33416-4738

 OCWEN LOAN SERVICING
 1661 WORTHINGTON ROAD, SUITE 100
 WEST PALM BEACH FL 33409
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                                                                         UNITED STATES BANKRUPTCY COURT
                                                                          FOR THE DISTRICT OF PUERTO RICO

 IN RE:         HARRY LUIS SANTANA LAMBOY                                                            BK. CASE #            14-09530
                DEBTOR(S)                                                                            CHAPTER 13

                                                                             CHAPTER 13 PAYMENT PLAN
 NOTICE: • The following plan contains provisions which may significantly affect your rights. You should read this document carefully and discuss it with your attorney.
 When confirmed, the plan will bind the debtor and each creditor to its terms. Objections must be filed in writing with the Court and served upon the debtor(s), debtors'
 counsel, the Trustee and any other entity designated by the Court, at the 341 meeting of creditors or not less than twenty (20) days prior to the scheduled confirmation
 hearing. For post confirmation Plan Modifications, objections must be filed and notified in the same manner within twenty (20) days from its notification. • This plan does
 not allow claims. Any party entitled to receive disbursements from the Trustee must file a proof of claim. The Trustee will pay the allowed claims, as filed,
 provided for in the plan, unless disallowed or expressly modified by the Court and / or the terms of the plan. If no claim is filed, the Trustee will not pay a
 creditor provided for in the plan, unless ordered by the Court. If the Trustee is to make POST-PETITION REGULAR MONTHLY PAYMENTS to any Secured
 obligation, then a proof of claim must be filed including the following information: account number, address, due date and regular monthly payment. Secured
 creditor must notify any change in the monthly payment, three (3) months prior to the effective date of new payment. Those post-petition monthly payments
 will not exceed the life of the plan. • See the notice of commencement of case for 341 meeting date and claims bar date, the latter is the date by which a proof of claim
 must be filed in order to participate of the plan distribution.
                1. The future earnings of the Debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s) shall make payments to the Trustee:
                      directly   by payroll deductions, as hereinafter provided in the PAYMENT PLAN SCHEDULE.
                2. The Trustee shall distribute the funds so received as hereinafter provided in the DISBURSEMENT SCHEDULE.
                3. The Confirmation Order will not vest property of the Estate on Debtor(s) until the Order discharging Debtor(s) is entered.
 PLAN DATED:             December 5, 2014                                                              AMENDED PLAN DATED: June             26,2015
      PRE     POST-CONFIRMATION                                                                 FILED BY     DEBTOR         TRUSTEE       UNSECURED CREDITOR
               I. PAYMENT PLAN SCHEDULE                                                            III. DISBURSEMENT SCHEDULE SEQUENCE
  $            307.00 x       2 =$                614.00                        A. SECURED CLAIMS:      Debtor represents that there are no secured claims.
  $            350.00 x      34 = $           11,900.00                                                       Secured creditors will retain their liens and shall be paid as follows:
  $            476.00 x      24 = $           11,424.00                            ADEQUATE PROTECTION Payments: Cr.                                            $                0.00
  $               0.00 x      0 =$                  0.00                           Trustee will pay secured ARREARS:
  $               0.00 x      0 =$                  0.00                          Cr. OCWEN LOAN                   Cr.                                  Cr.
                  TOTAL =    60 $             23,938.00                          Acct. 2696185                   Acct.                                Acct.
  Additional Payments:                                                           $ 13,285.84                     $                                     $
  $                        to be paid as a LUMP SUM
  within                       with proceeds to come from                          Trustee will pay REGULAR MONTHLY PAYMENTS:
      Sale of property identified as follows:                                   (please refer to the above related notice, for important information about this provision)
                                                                                   Cr.                               Cr.                               Cr.
                                                                                 Acct.                             Acct.                              Acct.
      Other:                                                                    Monthly Pymt.$                     Monthly Pymt.$                     Monthly Pymt.$
                                                                                   Trustee will pay IN FULL Secured Claims:
                                                                                  Cr.                             Cr.                                   Cr.
  Periodic Payments to be made other than and in addition to
  the above. February 2016,2017,2018                                                $                                  $                                  $
  $         2,000.00 x          3 =$              6,000.00                         Trustee will pay VALUE OF COLLATERAL:
  To be made on:                                                                   Cr.                          Cr.                                     Cr.
                                                                                    $.                           $.                                      $.
                                                                                   Secured Creditor's interest will be insured. INSURANCE POLICY will be paid through plan:
      PROPOSED PLAN BASE: $                               29,938.00                Cr.                               Ins. Co.                    Premium: $
                                                                                            (Please indicate in "Other Provisions" the insurance coverage period)
                                                                                   Debtor SURRENDERS COLLATERAL TO Lien Holder:
                                                                                   Debtor will maintain REGULAR PAYMENTS DIRECTLY to: OCWEN                   LOAN SERVICES
                      II. ATTORNEY'S FEES
 To be treated as a § 507 Priority, and paid before any                         B. PRIORITIES. The Trustee will pay §507 priorities in accordance with the law [§1322 (a)(2)].
  other creditor and concurrently with the Trustee's fees,                         Internal Revenue Service
  unless otherwise provided:                                                    C. UNSECURED PREFERRED: Plan     Classifies   Does not Classify claims
                                                                                    Class A: Co-debtor Claims: Pay 100%/    "Pay Ahead"
  a. Rule 2016(b) Statement:         $ 3,000.00                                     Class B: Other Class:
  b. Fees Paid (Pre-Petition):      ($ 971.00   )
  c. R 2016 Outstanding balance: ($ 2,029.00    )                                                                          $
  ————————————————————————————
  d. Post Petition Additional Fees: $                                           D. GENERAL UNSECURED NOT PREFERRED:               (Case Liquidation Value =                              )
  e. Total Compensation:             $ 3,000.00                                     Will be paid 100% plus % Legal Interest. Will be paid Pro-Rata from any remaining funds

                                                                                OTHER PROVISIONS:
  Signed:       /s/ HARRY LUIS SANTANA LAMBOY
               DEBTOR                                                                   * For additional other provisions, please see attachment sheet(s).

               JOINT DEBTOR


        ATTORNEY FOR DEBTOR:                                         /s/ ELBIA I. VAZQUEZ DAVILA                        Phone:          (787)892-0300



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                                                                     UNITED STATES BANKRUPTCY COURT
                                                                          DISTRICT OF PUERTO RICO

 IN RE:         HARRY LUIS SANTANA LAMBOY                                                BK. CASE #   14-09530
                DEBTOR(S)                                                                CHAPTER 13

                                                                     Chapter 13 Plan Continuation Sheet
Additional Other Provisions:
Other provisions:
              Tax refunds will be devoted each year, as periodic payments, to the plan's funding until plan completion. The tender of such
              payments shall deem the plan modified by such amount, increasing the base thereby without the need of further notice,
              hearing or Court order. If need be for the use by debtor of a portion of such refund, debtor shall seek court's authorization
              prior to any use of funds.

               TRUSTEE WILL PAY L.V. AT 4.25% P.V.




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